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                              UNITED STATES DISTRICT COURT
                                         FOR THE
                              WESTERN DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA                            )
                                                    )
vs.                                                 )       CR. No. 1:20-CR-10048
                                                    )
JUSTIN COFFMAN                                      )


      APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

       The United States Attorney’s Office applies to the Court for a Writ to have JUSTIN

COFFMAN, (DOB 08/24/1991) now being detained at the Madison County Jail, Jackson, Tennessee,

appear before United States Magistrate Judge Jon A. York, October 27, 2020, at 1:15 PM for the

purpose of an initial appearance and for such other appearances as this Court may direct.

       Respectfully submitted this 26th day of October, 2020.

                                                    s/Hillary L. Parham
                                                    HILLARY L. PARHAM
                                                    Assistant U.S. Attorney
                                                    109 S. Highland Avenue, Suite 300
                                                    Jackson, TN 38301
                                                    (731)422-6220
                                                    Hillary.Parham@usdoj.gov


       Upon consideration of the foregoing Application, Tyreece Miller, U.S. Marshal, Western District

of Tennessee, Memphis, TN, and the Madison County Jail, Jackson, Tennessee:

       YOU ARE HEREBY COMMANDED to have JUSTIN COFFMAN appear before United

States Magistrate Judge Jon A. York at the date and time aforementioned.

       ENTERED this 26th day of October, 2020.

                                                    s/Jon A. York
                                                    UNITED STATES MAGISTRATE JUDGE
